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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
_______________________________

United States of America,                           Case No.         22-CR-90 (KMM/LIB)

                       Plaintiff,

vs.                                                 MOTION TO EXCLUDE TIME UNDER
                                                    THE SPEEDY TRIAL ACT AND
George Francis Deppa                                CONTINUE DATES

                  Defendant.
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       The defendant, by and through his attorney, Kurt B. Glaser, respectfully moves the Court

to exclude time and continue deadlines pursuant to the Speedy Trial Act, 18 U.S.C. § 3161

(h)(7)(A). The defendant asks to continue all the deadlines and hearings in this matter, granting

an additional two months.

       Assistant United States Attorney Lindsey E. Middlecamp does not object to this request.

The defendant agrees with this request, and we have filed his signed Statement of Facts in

Support of Time Under Speedy Trial Act.

       The request is being made so that the defendant may have additional time to review the

discovery and discuss options with his attorney.

                                                    Respectfully Submitted,
                                                    Appearing by CJA Appointment,
                                                    BERGLUND, BAUMGARTNER,
                                                    KIMBALL & GLASER, L.L.C.

Dated: August 9, 2022                        By:     s/ Kurt B. Glaser
                                                    Kurt B. Glaser (#228886)
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                                                    ATTORNEY FOR DEFENDANT
